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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ALABAMA
                                 SOUTHERN DIVISION


  ELNORIA HOWELL,                                :
                                                 :
         Plaintiff,                              :
                                                 :
  vs.                                            :      CIVIL ACTION NO. 1:20-cv-502-TFM-M
                                                 :
  BALDWIN COUNTY BOARD OF                        :
  EDUCATION, et al.,                             :
                                                 :
         Defendants.                             :

                                                ORDER

         Pending before the Court is Defendants’ Joint Motion to Strike Plaintiff’s Response to

  Motion for Summary Judgment or, in the Alternative, to Extend Defendants’ Deadline for Replying

  to Same. Doc. 129, filed February 24, 2023. Defendants Baldwin County Board of Education,

  Jennifer Sinclair, and Eddie Tyler (collectively, “Defendants”) jointly request the Court strike

  Plaintiff Elnoria Howell’s response to their pending joint motion for summary judgment and

  extend Defendants’ deadline to file their reply to the same, pending the Court’s ruling on the instant

  motion. Id. Defendants subsequently filed a supplement and second supplement to their joint

  motion to strike and Plaintiff filed an objection to the same. Docs. 130, 132, 133. The Court set

  the joint motion to strike for a telephone conference, which was held on March 2, 2023. Doc. 131.

         On January 17, 2023, the Court granted Defendants’ motion to exceed the page limit for

  principal briefs, established by S.D. Ala. CivLR 7(e), and increased their page limit to fifty (50)

  pages for their joint motion for summary. Docs. 106, 107. Defendants filed their joint motion for

  summary judgment and brief in support, which was forty-eight (48) pages in length, not including

  “any caption, cover page, table of contents, table of authorities, and signature block.” S.D. ALA.



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  CIVLR 7(e); Docs. 114, 116, 129. In turn, Plaintiff filed separate motions for additional time to

  respond to Defendants’ joint motion for summary judgment and exceed the page limit for their

  response brief, which the Court granted, and, importantly, the Court expanded the page limit to

  fifty (50) pages for the response brief. Docs. 122, 123, 124. Plaintiff timely filed her response to

  the joint motion for summary judgment as well as a separate proposed statement of facts, which

  are approximately fifty-three (53) and twenty-eight (28) pages in length, respectively, not

  including “any caption, cover page, table of contents, table of authorities, and signature block.”

  S.D. ALA. CIVLR 7(e).

         Fed. R. Civ. P. 12(f) states, “The court may strike from a pleading an insufficient defense

  or any redundant, immaterial, impertinent, or scandalous matter.” FED. R. CIV. P. 12(f); see also

  2 James Wm. Moore, et al., Moore's Federal Practice § 12.37[2] (3d ed. 2013) (“Only material

  included in a ‘pleading’ may be subject of a motion to strike.”). Pleadings include “a complaint,”

  “an answer to a complaint,” an answer to a counterclaim designated as a counterclaim,” an answer

  to a crossclaim,” “a third-party compliant,” “an answer to a third-party complaint,” and “a reply

  to an answer.” FED. R. CIV. P. 7(a)(1)-(7).

         While Defendants motion the Court strike Plaintiff’s response to the joint summary

  judgment, a response to a motion is not a “pleading” that may be struck pursuant to the Federal

  Rules of Civil Procedure. Instead, the Court will disregard Plaintiff’s response to the joint motion

  for summary judgment and proposed statement of facts and allow Plaintiff additional time to file

  a response not to exceed fifty (50) pages in length as well as extend the time for Defendants to file

  their reply. Additionally, due to the extended briefing schedule for the joint motion for summary

  judgment, the Court finds it necessary to reset the pre-trial conference and trial of this matter.




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         Accordingly, Defendants’ joint motion to strike (Doc. 129) is GRANTED in part and

  DENIED in part. Defendants’ motion is GRANTED as to their request that the Court extend the

  deadline to file their reply to the joint motion for summary judgment. Defendants’ motion is

  DENIED as to their request that the Court strike Plaintiff’s response to the joint motion for

  summary judgment. Plaintiff’s response to the joint motion for summary judgment is due by

  March 16, 2023, and is not to exceed fifty (50) pages in length total, and Defendants’ reply is due

  by March 30, 2023, and must conform to the requirements set forth in Rule 56 of the Federal

  Rules of Civil Procedure and S.D. Ala. CivLR 7 and 56.

         The parties are reminded they are required to submit a paper courtesy copy of briefs and

  supporting evidence to the Chambers of the undersigned if the documents exceed thirty (30) pages.

  The courtesy copy shall be bound in a three-ring binder and tabbed.

         Additionally, the Court’s Second and Final Amended Rule 16(b) Scheduling Order (Doc.

  59), as amended (Doc. 64), is AMENDED as follows:

         1.      FINAL PRETRIAL CONFERENCE.                   This action is set for a final pretrial

  conference before the District Judge on August 18, 2023, at 10:00 a.m. This is a firm setting

  and the parties are expected to be ready for trial on that date.

         2.      TRIAL. This action is set for jury selection on August 29, 2023, at 8:45 a.m., and

  for trial sometime during the month of September 2023, the specific date to be set once the total

  number of actions going to trial is determined. The parties estimate that the trial of this action will

  take 4 days.

         All other deadlines in the Second and Final Amended Rule 16(b) Scheduling Order, as

  amended, not referenced herein remain in effect.




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       DONE and ORDERED this the 3rd day of March 2023.

                                      s/Terry F. Moorer
                                      TERRY F. MOORER
                                      UNITED STATES DISTRICT JUDGE




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